Case 1:20-cv-23365-KMW Document 16 Entered on FLSD Docket 04/01/2021 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                            Case No. 20-23365-CIV-WILLIAMS

  YADER PAVON, el al.,

        Plaintiffs,

  v.

  CESPEDES REPAIR, INC., et al.,

        Defendants.
                                            /

                                          ORDER

        THIS MATTER is before the Court on Magistrate Judge Edwin G. Torres’ report

  and recommendation (the “Report”) (DE 15) regarding Plaintiffs Yader Pavon, Alison

  Chavez, and David Betancourt’s motion for default judgment against Defendants

  Cespedes Repair, Inc. and Jose L. Cespedes (DE 13). The Report recommends that

  Plaintiff’s motion be granted in part and denied in part. No objections to the report were

  filed. Accordingly, upon an independent review of the Report, the record, and applicable

  case law, it is ORDERED AND ADJUDGED as follows:

        1. The conclusions in the Report (DE 15) are AFFIRMED AND ADOPTED.

        2. Plaintiffs’ motion for default judgment (DE 13) is GRANTED IN PART AND

            DENIED IN PART.

        3. Plaintiffs’ motion for overtime and liquidated damages is GRANTED. Judgment

            is entered in favor of Plaintiff Yader Pavon and against Defendants in the

            amount of $35,719.04. Judgment is entered in favor of Plaintiff Alison Chavez

            and against Defendants in the amount of $11,364.64. Judgment is entered in

            favor of David Betancourt and against Defendants in the amount of $9,421.72.
Case 1:20-cv-23365-KMW Document 16 Entered on FLSD Docket 04/01/2021 Page 2 of 2




        4. Plaintiffs’ request for fees and costs is DENIED without prejudice.

        5. The Clerk is directed to CLOSE this case.

        DONE AND ORDERED in Chambers in Miami, Florida, this 1st day of April, 2021.




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